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                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MICHIGAN

ABIGAIL COSLOW, as Personal
Representative of the Estate of
KANDY COSLOW, Deceased,

         Plaintiff,                                Case No: 1:25-cv-10455
                                                   Hon. Thomas L. Ludington
v.

FOOTPRINT ACQUISITION, LLC, an
Illinois limited liability company, and
THE TRAVELERS INDEMNITY COMPANY
OF CONNECTICUT, a Connecticut
domiciled insurance company,

         Defendants.
                                                                       /

      DEFENDANTS FOOTPRINT ACQUISITION, LLC AND THE
  TRAVELERS INDEMNTY COMPANY OF CONNECTICUT’S MOTION
     TO DISMISS PURSUANT TO FED R. CIV. P. (12)(b)(1) AND (6)

         Defendants, Footprint Acquisition, LLC (“Footprint”) and The Travelers

Indemnity Company of Connecticut (“Travelers”) (collectively, “Defendants”),

bring this motion to dismiss the complaint filed by Plaintiff Abigail Coslow

(“Plaintiff”), as Personal Representative of the Estate of Kandy Coslow, Deceased

(“Decedent Coslow”), pursuant to Fed. R. Civ. P. 12(b)(1) and (6) on the grounds

that (1) this lawsuit is an improper collateral attack on the Michigan state court’s

ruling in an underlying liability action; (2) Plaintiff lacks standing because this

lawsuit is an improper direct action against Travelers and because Decedent Coslow



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has never been an insured or an intended third party beneficiary under the insurance

policy issued by Travelers; and (3) Plaintiff lacks standing because the issue in this

lawsuit is not ripe given that the primary insurance policy has not been exhausted

and there has been no determination of liability in the underlying action. Defendants

rely on the facts, legal authorities, and arguments set forth in the Brief in Support

filed herewith.

      Pursuant to Local Rule 7.1(a)(1), by telephone calls and emails on April 18,

2025, the undersigned conferred with Plaintiff’s counsel, explained the nature of this

motion and its legal basis; and requested but did not obtain concurrence in the relief

sought, hence necessitating the filing of this motion.

      WHEREFORE, Defendants respectfully request that the Court enter an order

granting this Motion and dismissing Plaintiff’s Complaint in its entirety, with

prejudice, and grant such other relief that this Court deems appropriate, just, and

equitable, including costs and attorney fees.

                                       Respectfully submitted,

                                       s/ Charles W. Browning
                                       Charles W. Browning (P32978)
                                       Stephanie M. Brochert (P81710)
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                                  Attorneys for Defendants
                                  Footprint Acquisition, LLC and
                                  The Travelers Indemnity Company of
                                  Connecticut


DATED: April 18, 2025




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